              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:23-cv-00207-MR-WCM



TODD W. SHORT,                       )
                                     )
                        Plaintiff,   )
                                     )
             vs.                     )          ORDER
                                     )
MICHAEL BOYD, FBI Special Agent, )
in his individual capacity; and      )
JOHN DOES, FBI Special Agents        )
1-6, in their individual capacities, )
                                     )
                        Defendants.  )
________________________________ )

      THIS MATTER is before the Court on the Plaintiff’s “Motion for Six-Day

Extension of Time to File Objection and Submit Interrogatories” [Doc. 80].

      On November 5, 2024, the Honorable W. Carleton Metcalf, United

States Magistrate Judge, entered an Order, which inter alia granted the pro

se Plaintiff leave to conduct limited discovery in the form of a deposition by

written questions of the Government’s declarant, Kathryn L. Swinkey. [Doc.

79]. Specifically, Judge Metcalf directed the Plaintiff to submit his written

questions no later than November 20, 2024, and for responses to be served

on the Plaintiff no later than December 13, 2024. [Id.]. The Plaintiff now




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moves for an extension of time of six (6) days, both to object to the Magistrate

Judge’s Order1 and to submit his written questions. [Doc. 80].

       Upon review of the Plaintiff’s motion, the Court will grant the requested

extension.

       IT IS, THEREFORE, ORDERED that:

       (1)    The Plaintiff’s “Motion for Six-Day Extension of Time to File

Objection and Submit Interrogatories” [Doc. 80] is GRANTED;

       (2)    The Plaintiff shall have an additional six (6) days, through and

including November 25, 2024, within which to file objections to

the Magistrate Judge’s Order [Doc. 79];

       (3)    The Plaintiff also shall have an additional six (6) days, through

and including November 26, 2024, within which to submit ten (10) written

single part questions to the Government’s declarant, Kathryn L. Swinkey, in

accordance with the Magistrate Judge’s Order [Doc. 79]. Any response to

these written questions shall be served on the Plaintiff on or before
                                    Signed: November 19, 2024

December 19, 2024.

       IT IS SO ORDERED.




1 Objections to the Order were due on November 19, 2024, one day before the deadline

for the interrogatories.
                                         2



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